Case 1:19-mj-00926 Document 1 Filed on 09/19/19 in TXSD Page 1 of 2
~ AO 91 (Rev. 5/95) Criminal Complaint Felimy

 

 

 

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UNITED STATES DISTRICT COURT "®
SOUTHERN DISTRICT OF TEXAS SEP 19 2019
BROWNSVILLE DIVISION
David J. Bradley, Clerk of Court
UNITED STATES OF AMERICA
vs CRIMINAL COMPLAINT
SANTIZ-Santiz, Carmen CASE NUMBER: B:19- q2b MJ

A209 809 359

I, the undersigned being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about September 17, 2019 in Cameron County, in the
SOUTHERN District of TEXAS, defendant,

 

knowingly, willfully, and in violation of law encouraged or induced one
undocumented minor alien to come to, enter, or reside in the United States,
knowing or in reckless disregard of the fact that such alien has not received
prior authorization to come to, enter, or reside in the United States

in violation of Title 8 United States Code, Section(s) 1324 (a) (1) (A) (iv) and

 

 

in violation of Title 18 United States Code, Section(s) 1001

 

I further state that I am a (n) U.S. Customs and Border Protection Officer and that
this complaint is based on the following facts:

 

See Attachment.

Continued on the attached sheet and made a part hereof: X :Yes

La.

Kenande he of Complainant
Reman bo spinoza Jr.
Sworn to before me and subscribed in my presence,

September 19, 2019 at BROWNSVILLE, Texas

Date City and State

————
Ronald G. Morgan U.S.MAGISTRATE JUDGE Lenk! Mo

Name & Title of Judicial Officer ft Signature of Judidial an
~ Case 1:19-mj-00926 Document 1 Filed on 09/19/19 in TXSD_ Page 2 of 2

ATTACHMENT SHEET (Criminal Complaint)

UNITED STATES OF AMERICA

Vs CRIMINAL COMPLAINT
SANTIZ-Santiz, Carmen CASE NUMBER: B:19 -42L MJ

A209 809 359

I, Armando Espinoza U.S. Customs and Border Protection Officer, swear that
the following is true and correct to the best of my knowledge and belief:

On September 17, 2019 the defendant, identified as Carmen SANTIZ-Santiz,
attempted to enter the United States from Mexico through the pedestrian
primary lanes at the Brownsville and Matamoros International Bridge in
Brownsville, Texas accompanied by a juvenile. SANTIZ claimed to be
traveling with his juvenile son. SANTIZ presented a Mexican birth
certificate for himself and a Mexican birth certificate bearing the name of
Eduardo Santiz Santiz on behalf of the juvenile to a U.S. Customs and Border
Protection Officer. When asked for the purpose of his attempted entry SANTIZ
requested asylum. SANTIZ and the juvenile were referred to Passport Control
Secondary for further inspection.

After further inspection, Customs and Border Protection Officers determined
that SANTIZ is not the juvenile’s father and the document he presented on
behalf of the juvenile is fraudulent. The juvenile was identified as E.S.S.
and was determined to be a citizen and national of Mexico with no legal
status to come to, enter, or to be in the United States.

Prior to being interviewed, SANTIZ was read his Miranda Rights and chose to
waive them. SANTIZ stated that in fact he is not the father of the child and
was transporting the child in order to successfully gain entry into the
United States. SANTIZ admitted that he previously obtained the juvenile’s
fraudulent document to show him as the father. SANTIZ stated that he
intended on transporting the child from Mexico to North Carolina. SANTIZ
stated he knew the chiid had no legal status to come to, enter, or to be in
the United States and intended on using the fraudulent document to
facilitate his and the juvenile’s unlawful entry into the United States.

 

 

 

 

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/Pisnature of Copplainant
Armando Espymoza Jr.

Sworn to before me and subscribed in my presence,
September 19, 2019 at BROWNSVILLE, Texas
Date City and State —
Ronald G. Morgan U.S.MAGISTRATE JUDGE fical, Ye
Name & Title of Judicial Officer . Signatdre of Judicial ae

(Attachment to AO 91 Criminal Complaint)
